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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF CONNECTICUT


 AURACLE HOMES, LLC; FD
 MANAGEMENT, LLC; BUCKLEY FARMS,
 LLC; ORANGE CAPITOL, LLC; 216 EAST                   3:20-cv-00829-VAB
 MAIN STREET MERIDEN, LLC; BD
 PROPERTY HOLDINGS, LLC; PRIME
 MANAGEMENT, LLC; AND, HABERFELD
 ENTERPRISES, LLC,
                                                      NOTICE
         Plaintiffs,

 v.

 NED LAMONT
                                                      JULY 20, 2020
          Defendant.


       The undersigned hereby represent that there will be no additional witness testimony

nor additional evidence presented to the Court at the hearing on Wednesday, July 22, 2020.

Dated: JULY 20, 2020                       Respectfully submitted,

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                                     CERTIFICATION

I hereby certify that, on this date, a copy of the foregoing was filed electronically. Notice of
this filing will be sent by e-mail to all parties by operation of the Court's electronic filing
system. Parties may access this filing through the Court's system.


Dated: July 20, 2020                             /s/Craig C. Fishbein
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